837 F.2d 1091
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.George KNOST, Defendant-Appellant.
    No. 87-2071.
    United States Court of Appeals, Sixth Circuit.
    Dec. 7, 1987.
    
      1
      Before KEITH, MILBURN and DAVID A. NELSON;  Circuit Judges.
    
    ORDER
    
      2
      This appeal is before the court upon review of the file and for consideration pursuant to Rule 9(a), Rules of the Sixth Circuit.
    
    
      3
      A review of the file indicates that the appellant's October 29, 1987, notice of appeal from the order entered October 8, 1987, denying the Fed.R.Crim.P. 35 motion for correction of sentence was filed 10 days late.  United States v. Willis, 804 F.2d 961, 962 (6th Cir.1985);  Fed.R.App.P. 4(b).  However, the district court has authority to grant an extension of time since the notice of appeal was filed within thirty days after expiration of the appeals period.  United States v. Hoye, 548 F.2d 1271 (6th Cir.1977).  The notice of appeal alleges excusable neglect and can be construed as a motion for extension of time.  Cf. Pryor v. Marshall, 711 F.2d 63 (6th Cir.1983).
    
    
      4
      It is ORDERED that the case be remanded to the district court for a ruling on appellant's motion for extension of time for filing the notice of appeal.
    
    